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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA



            v.                         Case No.: 21-cr-78(EGS)



JOHN SULLIVAN

        SUPPLEMENT TO MOTION TO DISMISS COUNT 1 OF THE
                  SUPERSEDING INDICTMENT

      Defendant, by and though undersigned counsel, does hereby

supplement his Motion to Dismiss Count 1 of the Superseding Indictment.

In support thereof, defendant respectfully sets forth as follows:

      1. On December 31, 2021, defendant filed a Motion to Dismiss Count

1 of the Superseding Indictment. Defendant incorporated the Motion to

Dismiss Count 2 of the Indictment submitted in United States v. Caldwell,

21-cr-28 (APM). See ECF 62. On January 10, 2022, the United States filed

an Opposition to the Motion to Dismiss. ECF 65.

      2. On March 7, 2022, the Honorable Carl J. Nichols of this United

States District Court issued a Memorandum Opinion in United States v.

Garrett Miller, 21-cr-119 (CJN). The opinion addressed a Motion to Dismiss



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Count Three of the Indictment, violation of 18 U.S.C. Sec. 1512 (c)(2). This

is the same statutory count that defendant John Sullivan seeks to dismiss.

      3. Miller argued, as does defendant Sullivan, that Sec. 1512 (c)(2)

does not make criminal his alleged actions on January 6. Judge Nichols

held that “the Court must determine what conduct Sec. 1512 (c)(2) prohibits

and whether Miller’s alleged actions fall within that prohibition.” Miller, 8.

Judge Nichols further concluded that three readings of the statute are

possible, two plausible. Ultimately, the rule of lenity required the Court to

“resolve ambiguities in favor of the defendant.” Id.11 citing United States v.

Nasir 17 F.4th 459, 473 (3rd Cir. 2021) (en banc). Judge Nichols later

determined that “the Court is left with a serious ambiguity in a criminal

statute.” Id. 28.

      4. Judge Nichols concluded that “Sec. 1512 (c)(2) must be interpreted

as limited by subsection (c)(1), and thus requires that the defendant have

taken some action with respect to a document, record, or other object in

order to corruptly obstruct, impede or influence an official proceeding.: Id.,

28, emphasis supplied.

      5. Finding that Miller is not alleged to have taken such action, Judge

Nichols dismissed the felony 1512 count in the indictment.




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      6. Defendant Sullivan notes that he, like Miller, is not alleged to have

taken some action with respect to a document, record, or other object in

order to corruptly obstruct, impede or influence an official proceeding.

      7. Defendant adopts the analysis of Judge Nichols in United States v.

Miller and supplements his Motion to Dismiss Count 1 of the Superseding

Indictment with the ruling of Judge Nichols.



                                             ______/s/_________________
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                        CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and accurate copy of the foregoing
   was served, via the Court’s electronic filing system, upon Candice Wong,
   Esquire, Assistant U.S. Attorney on this the 3rd day of April, 2022,


                                           ______/s/___________________
                                           Steven R. Kiersh




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